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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CHIKE UZUEGBUNAM, et al.,
                         Plaintiffs,
                                          Case No. 1:16-cv-04658-ELR
                v.
                                       THE HONORABLE ELEANOR L. ROSS
STANLEY C. PRECZEWSKI, et al.,
                       Defendants.


             PLAINTIFFS’ RESPONSE IN OPPOSITION TO
         DEFENDANTS’ SUPPLEMENTAL BRIEF IN SUPPORT OF
             THEIR MOTION TO DISMISS FOR MOOTNESS
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                                 INTRODUCTION
   When Shakespeare wrote of “sound and fury, signifying nothing,” he did not
refer to Defendants’ latest brief. Suppl. Br. in Supp. of Defs.’ Mot. to Dismiss
for Mootness (“Defs.’ Mootness Suppl.”), Apr. 19, 2018, ECF No. 39. But he

could have, as nothing in it changes anything of any significance. Plaintiffs
continue to assert injunctive relief claims as Mr. Bradford remains a student
at Georgia Gwinnett College (“GGC”). They pleaded claims for monetary dam-

ages, not just nominal ones, based on the enforcement of these policies, claims
that policy changes cannot moot. So Plaintiffs’ claims remain just as live as
they were the day before Defendants filed their supplement.
                               ARGUMENT
I. Plaintiffs continue to assert claims for injunctive relief because Mr.
   Bradford remains a student at Georgia Gwinnett College.
   Defendants’ entire injunctive relief argument focuses on Mr. Uzuegbunam.
Defs.’ Mootness Suppl. at 3–4. While his graduation moots his injunctive claims,
it has no effect on anyone else’s, as Defendants concede. Id. at 3 (seeking dismis-

sal only of “Plaintiff Uzuegbunam’s requests for equitable relief”).
   Notably, Defendants ignore Mr. Bradford. But he remains a GGC student
with live claims for injunctive relief. Plaintiffs pleaded that Mr. Bradford is a
GGC student, 1st Am. V. Compl. (“Compl.”) ¶¶ 7, 17, Feb. 15, 2017, ECF No. 13;
that he desires to express his religious beliefs on campus, see, e.g., id. ¶¶ 21, 23–
25, 179, 321, 323–28; and that he remains subject to these policies, see, e.g., id.
¶¶ 346, 356. They then detailed how his speech is chilled due to Defendants’
policies and the way they enforced those policies. See, e.g., id. ¶¶ 184, 237, 316–
19, 330, 332, 334, 336–59. Plaintiffs explained before why Defendants’ litigation-


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motivated policy changes do not moot Mr. Bradford’s injunctive claims, includ-
ing how they perpetuate the Speech Zone Policy’s most glaring constitutional

flaws. See Pls.’ Resp. in Opp’n to Defs.’ Mot. to Dismiss for Mootness (“Pls.’ Moot-
ness Resp.”) at 3–25, Apr. 24, 2017, ECF No. 27.
   In short, Mr. Bradford’s injunctive claims remain live. Mr. Uzuegbunam’s

graduation has no practical effect on this case.
II. Plaintiffs pleaded claims for monetary damages (not just nominal
    damages) that are not moot, particularly on a motion to dismiss.
   Defendants’ damages argument rests on one case. Flanigan’s Enters., Inc.
of Ga. v. City of Sandy Springs, 868 F.3d 1248 (11th Cir. 2017). But that deci-
sion does not control here as (1) Plaintiffs pleaded claims for actual damages
and (2) Defendants oversimplified its holding. Regardless of its application,

Plaintiffs would have the chance to amend the Complaint to clarify the relief
sought. So once again, Defendants’ latest brief changes nothing about this case.
   First, Flanigan’s Enterprises involved plaintiffs who “did not request actual

or compensatory damages.” Id. at 1263 n.11. It recognized that a “claim for
actual damages maintains the live controversy.” Id. at 1270 n.23. It only gov-
erns when plaintiffs seek solely nominal damages. Id. That situation is not
before this Court as Plaintiffs pleaded compensatory damages claims.
   Plaintiffs repeatedly pleaded that they “are entitled to an award of mone-
tary damages,” Compl. ¶¶ 417, 434, 450, 469, and to “damages in an amount
to be determined by the evidence and this Court.” Id. ¶¶ 418, 435, 451, 470.
“Monetary damages” does not refer exclusively to the nominal variety. See, e.g.,
Quinlan v. Pers. Transp. Servs. Co., 329 F. App’x 246, 249 (11th Cir. 2009)


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(using “monetary damages” to refer to compensatory and punitive damages);
Sheely v. MRI Radiology Network, P.A., 505 F.3d 1173, 1198 (11th Cir. 2007)

(same). And as nominal damages serve a symbolic function, Flanigan’s Enters.,
868 F.3d at 1268, their amount is not determined by the evidence presented in
court. Hence, Plaintiffs stated claims not just for nominal damages, but also

for actual, compensatory damages—particularly when this Court construes the
Complaint “broadly,” Watts v. Fla. Int’l Univ., 495 F.3d 1289, 1295 (11th Cir.
2007), and “in the light most favorable to [P]laintiff[s].” Id.; Chaparro v. Car-
nival Corp., 693 F.3d 1333, 1335 (11th Cir. 2012); see also Gates v. Khokar, 884
F.3d 1290, 1296 (11th Cir. 2018) (noting courts must “draw[] all reasonable
inferences in the plaintiff’s favor” on a motion to dismiss). Thus, Flanigan’s
Enterprises does not control, and these claims remain live.
   Defendants ignore these paragraphs and focus solely on the prayer for re-
lief. See Defs.’ Mootness Suppl. at 5 (citing Compl. at 79). But the prayer does

not limit the types of relief Plaintiffs seek. FED. R. CIV. P. 54(c) notes that
courts must “grant the relief to which each party is entitled, even if the party
has not demanded that relief in its pleadings.” Here, in addition to Plaintiffs
having pleaded such relief for compensatory damages, federal courts “should
not dismiss a meritorious constitutional claim because the complaint seeks one
remedy rather than another plainly appropriate one.” Holt Civic Club v. City
of Tuscaloosa, 439 U.S. 60, 65 (1978). The prayer for relief can provide insight
on the types of claims being brought, but “its omissions are not in and of them-
selves a barrier to redress of a meritorious claim.” Id. at 66.



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    Where allegations are placed in the complaint does not matter as courts
must “read the complaint as a whole.” Aldana v. Del Monte Fresh Produce,

N.A., Inc., 416 F.3d 1242, 1252 n.11 (11th Cir. 2005). For example, a district
court dismissed a case, saying the plaintiff “failed to specify his damages” be-
cause the prayer for relief just cited a statute and sought “any and all other

relief that the Court deems just and appropriate.” Levine v. World Fin. Network
Nat’l Bank, 437 F.3d 1118, 1123 (11th Cir. 2006). The Eleventh Circuit re-
versed because each count requested various remedies. Id. Under notice plead-
ing, this stated claims for “for all of the available damages.” Id.1
    Here, each count pleaded compensatory damages. Compl. ¶¶ 417–18, 434–
35, 450–51, 469–70. The prayer for relief also seeks “[a]ll other further relief
to which Plaintiffs may be entitled.” Compl. at 79 ¶ I. Thus, like the Levine
plaintiff, Plaintiffs stated claims for all available types of damages. Defendants

1   Other federal circuits have similarly ruled that the prayer for relief does not
curtail the available types of relief. See, e.g., Dingxi Longhai Dairy, Ltd. v.
Becwood Tech. Grp. L.L.C., 635 F.3d 1106, 1108–09 (8th Cir. 2011) (“The suf-
ficiency of a pleading is tested by the Rule 8(a)(2) statement of the claim for
relief and the demand for judgment is not considered part of the claim for that
purpose, as numerous cases have held. Thus, the selection of an improper rem-
edy in the Rule 8(a)(3) demand for relief will not be fatal to a party’s pleading
if the statement of the claim indicates the pleader may be entitled to relief of
some other type.” (quoting WRIGHT & MILLER, 5 FED. PRAC. & PROC. CIV. § 1255
(3d ed. 2004)); Bontkowski v. Smith, 305 F.3d 757, 762 (7th Cir. 2002) (“[T]he
demand is not itself a part of the plaintiff’s claim . . . and so failure to specify
relief to which the plaintiff was entitled would not warrant dismissal under
Rule 12(b)(6) (dismissal for failure to state a claim).” (internal citations omit-
ted)); Kan. City, St. L. & Chi. R.R. Co. v. Alton R.R. Co., 124 F.2d 780, 783 (7th
Cir. 1941) (“The prayer may be looked to to help determine the relief to which
the appellant is entitled, but it is not controlling.”); Pension Benefit Guar. Corp.
v. E. Dayton Tool & Die Co., 14 F.3d 1122, 1127 (6th Cir. 1994) (“If a pleading
provides a defendant notice of the plaintiff’s claims and the grounds for the
claims . . . omissions in a prayer for relief do not bar redress of meritorious
claims.”).

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cannot say they did not receive notice simply because these statements were
in “another section of the complaint.” Aldana, 416 F.3d at 1252 n.11. Thus,

Flanigan’s Enterprises does not control; these claims remain live.
   These claims also survive qualified immunity as Plaintiffs pleaded facts
showing Defendants violated clearly established rights. Kyle K. v. Chapman,

208 F.3d 940, 942 (11th Cir. 2000) (“Defendants are entitled to qualified im-
munity in a Rule 12(b)(6) motion to dismiss only if the complaint fails to allege
facts that would show a violation of a clearly established constitutional right.”).
Plaintiffs pleaded facts showing that Defendants enforced policies against Mr.
Uzuegbunam that conferred multiple levels of unbridled discretion, making
them viewpoint-based. Their Speech Code, used to silence him, established a
heckler’s veto. Their Speech Zone Policy, used to stop him, imposed an illegal
prior restraint that cannot pass any level of constitutional scrutiny. These are
just a few ways these policies violate clearly established law. See Pls.’ Resp. in

Opp’n to Defs.’ Mot. to Dismiss Am. Compl. at 8–45, Apr. 7, 2017, ECF No. 22.
   Second, Defendants ignore critical nuances on nominal damages. The Elev-
enth Circuit did not categorically hold that all nominal damages claims are
moot once claims for other relief are moot. Flanigan’s Enters., 868 F.3d at 1270
n.23 (“Our holding today . . . does not imply that a case in which nominal dam-
ages are the only available remedy is always or necessarily moot.”). It reiter-
ated that “‘[n]ominal damages are appropriate if a plaintiff establishes a viola-
tion of a fundamental constitutional right, even if he cannot prove actual injury
sufficient to entitle him to compensatory damages.’” Id. (quoting KH Outdoor,



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LLC v. City of Trussville, 465 F.3d 1256, 1260 (11th Cir. 2006)). “Thus, where
an alleged constitutional violation presents an otherwise live case or contro-

versy, a district court is not precluded from adjudicating that dispute” and
awarding nominal damages if actual damages cannot be proven. Id.
    Here, a live case or controversy remains, with fundamental constitutional

rights at stake. In 2016, Defendants silenced Mr. Uzuegbunam, saying he
could only speak in two tiny locations on campus provided no one complained.
For almost two years (i.e., the rest of his GGC career), his and Mr. Bradford’s
speech was (and remains) chilled. Once sued, they replaced a policy they knew
was flawed (see Compl. ¶¶ 197–203) with a new one that perpetuated the same
flaws—that still confines student speech to two (now more vague) zones on
campus, grants unbridled discretion, and requires students to let officials re-
view in advance any leaflets they want to distribute. Pls.’ Mootness Resp. at
16–25. Plaintiffs deserve the opportunity to prove their case. Whether they ul-

timately receive compensatory damages, Flanigan’s Enterprises says they may
still receive nominal damages. Hence, even those claims are not moot.
    Last, any dismissal due to Defendants’ supplement would have to be with-
out prejudice. In general, “[w]here a more carefully drafted complaint might
state a claim, a plaintiff must be given at least one chance to amend the com-
plaint before the district court dismisses the action with prejudice.” Bank v.
Pitt, 928 F.2d 1108, 1112 (11th Cir. 1991), overruled in part by Wagner v. Dae-
woo Heavy Indus. Am. Corp., 314 F.3d 541 (11th Cir. 2002). 2 Here, clarifying

2  Per Wagner, Bank does not apply “when the plaintiff, who is represented by
counsel, never filed a motion to amend nor requested leave to amend before the

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the type of damages sought would be simple, would pose no prejudice, and
would allow this dispute to be decided on the merits, rather than technicalities.

Plaintiffs have not sought leave to amend so as to avoid aggravating this Court
by mooting out the extensively briefed pending motions when they do not be-
lieve an amendment is needed. But if this Court wishes to have this point clar-

ified, Plaintiffs can easily do so via affidavit or amendment.
                                 CONCLUSION
   Defendants’ latest brief changes nothing. Plaintiffs maintain live injunctive
claims via Mr. Bradford. They pleaded actual damages claims, and here, this
Court must construe the Complaint “broadly” and “in the light most favorable
to [them].” Watts, 495 F.3d at 1295; Chaparro, 693 F.3d at 1335. Those claims
cannot be mooted. A simple amendment would remedy any possible technical-
ities, resetting the case to where it stood before Defendants’ supplement.

   Respectfully submitted this the 1st day of May 2018,
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district court.” Wagner, 314 F.3d at 542. Plaintiffs here request leave to amend
if the Court deems it necessary.

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                       CERTIFICATE OF FORMATTING
   I hereby certify that the foregoing document has been prepared in Century

Schoolbook, thirteen point font and fully complies with the font and point
selection requirements of L.R. 5.1(B), N.D. Ga.
   Respectfully submitted on this the 1st day of May, 2018.

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                           CERTIFICATE OF SERVICE
   I hereby certify that on the 1st day of May, 2018, I electronically filed a true
and accurate copy of the foregoing document with the Clerk of Court using the
CM/ECF system, which automatically sends an electronic notification to the
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